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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

   TEMPUR-PEDIC NORTH AMERICA, LLC,
   TEMPUR-PEDIC MANAGEMENT, LLC,
   and DAN-FOAM APS,
                                                           CASE NO.: 8:18-CV-02147-VMC-SPF
            Plaintiffs,

   v.

   MATTRESS FIRM, INC., THER-A-PEDIC
   ASSOCIATES, INC., SINOMAX GROUP
   LIMITED, and SINOMAX USA INC.,

         Defendants,
   _________________________________________/

        MOTION TO TRANSFER CASE UNDER FIRST-FILED RULE, OR IN THE
        ALTERNATIVE, MOTION TO TRANSFER VENUE UNDER 28 U.S.C. § 1404
         (With Incorporated Memorandum of Law and Local Rule 3.01(g) Certificate)

            Defendant, MATTRESS FIRM, INC. (“Defendant” or “Mattress Firm”) moves to

   transfer this case pursuant to the First-Filed doctrine, or in the alternative to transfer this case,

   pursuant to 28 U.S.C. § 1404, to the United States District Court for the Southern District of
                               1                                             2
   Texas (Houston Division), and for expedited consideration of same, and states:




   1
        Mattress Firm understands that the other defendants will join or not oppose this Motion to
        Transfer Venue to the Southern District of Texas.
   2
        Concomitantly with the filing of this Motion, Mattress Firm will be filing a Motion
        seeking expedited consideration of this Motion to Transfer.



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   I.       INTRODUCTION.

            In their opening salvo, Plaintiffs proclaim on the first page of their complaint that

   Mattress Firm is “at it again” and thus connect the instant case to the Texas Federal Case, as

   defined below. See Dkt. 1, (the “Complaint”), ¶ 1. Throughout the Complaint and other

   papers and pleadings filed by the Plaintiffs, Plaintiffs extensively refer to the Texas Federal

   Case, strongly implying that the conduct giving rise to the instant case violates orders entered

   in that case. The manner in which Plaintiffs themselves frame this dispute begs the question

   why Plaintiffs chose to bring the instant case in this jurisdiction rather than Texas. Whatever

   the reason, a close examination of the Plaintiffs’ allegations, the relief sought by the

   Plaintiffs, and the Declaration submitted by Mattress Firm in support of this Motion proves

   that substantial overlap exists with the Texas Federal Case, which compels the transfer of the

   instant case to that court for appropriate determination regarding whether this case should be

   consolidated with the Texas Federal Case or should proceed separately in that District or in

   this Court.

            As Plaintiffs admit, this is not the first case Plaintiffs Tempur-Pedic North America,

   LLC and Dan-Foam ApS (collectively, “Tempur-Pedic”) filed against Mattress Firm alleging

   trademark infringement. Tempur-Pedic filed its first trademark infringement lawsuit against

   Mattress Firm on April 7, 2017 in the Houston Division of the Southern District of Texas,

   alleging that Mattress Firm violated the Lanham Act by infringing upon Tempur-Pedic’s

   trademarks and goodwill, causing immediate and irreparable harm (defined below as the

   “Texas Federal Case”). See generally, Texas Federal Case, Dkt. No. 1, Plaintiffs’ Original

   Complaint in Case No. 4:17-cv-01068 (the “Texas Federal Complaint”), attached as Exhibit




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   1, at ¶¶ 1, 39-65. For the last sixteen months, the parties have pursued the resolution of their

   trademark dispute in the Texas Federal Case, conducting extensive discovery, taking

   numerous depositions and engaging in numerous and lengthy preliminary injunction

   proceedings.

            Without question, the district judge and his staff in Texas have become familiar with

   the parties and their legal dispute, having ruled on three emergency applications for

   preliminary injunction from Tempur-Pedic. Along the way, the Texas Federal Court has

   ruled that Mattress Firm has the right to use the Tempur-Pedic trademarks in specific ways,

   but importantly, has also admonished the parties to meet and confer about any other

   trademark disputes relating to Mattress Firm’s web page or other advertisements. See Exhibit

   2, Texas Federal Case, Dkt. No. 70, Memorandum Opinion & Order, at pp. 25-26. Despite

   this order, and the fact that Tempur-Pedic had already availed itself of the Houston Texas

   forum, Tempur-Pedic filed this trademark infringement lawsuit in this Court against

   Defendant Mattress Firm, and others. Even a cursory review of Tempur-Pedic’s pleadings in

   this case reflect copious overlap with the Texas Federal Case, and demonstrates that the

   Court should transfer this case under the First Filed Rule. Alternatively, the Court should

   transfer this case to the Southern District of Texas under 28 U.S.C. § 1404(a) as the majority

   of relevant factors favor that forum as the place where this dispute should be resolved

   concomitantly with Tempur-Pedic’s other allegations of trademark infringement against

   Mattress Firm, especially since there is a danger of inconsistent and conflicting rulings from

   two courts of equal jurisdiction.




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   II.      FACTUAL BACKGROUND.

            A.    Plaintiffs Trace the Origin of the Dispute That Resulted In the Filing of
                  the Instant Case to the Dissolution of Their Business Relationship with
                  Mattress Firm, Which Is Also The Genesis of The Texas Federal Case.

            1.    For over twenty years, Plaintiffs allege that they did an extensive amount of

   business with Mattress Firm, the former number one authorized retailer of Tempur-Pedic

   products. See Complaint ¶¶ 38-39; Dkt. 10, Declaration of Richard W. Anderson (“Plaintiffs’

   Declaration”), ¶ 29.

            2.    In 2017, Mattress Firm announced its intent to terminate its business

   relationship with the Plaintiffs and their affiliates. See Plaintiffs’ Declaration ¶ 35. Before it

   could do so, Plaintiffs peremptorily terminated their agreements with Mattress Firm. Id. The

   dissolution of the business relationship ultimately spawned two lawsuits in Houston, Texas,

   the principal place of business of both Mattress Firm and the Plaintiffs’ affiliated business

   entity, Sealy Mattress Company. Mattress Firm filed suit first on March 30, 2017 against

   Tempur-Pedic North America, LLC in state court, in Houston Texas, pending as Case No.

   2017-22062 (the “Texas State Case”). See Exhibit 3, Dkt. 18-1 (pending docket for the Texas

   State Case as of August 31, 2018). Approximately one week later, on April 7, 2017, Tempur-

   Pedic North America, LLC and Dan Foam ApS sued Mattress Firm in the Houston Division

   of the United States District Court for the Southern District of Texas. See Exhibit 4, Dkt. 18-

   2 (pending docket for the Texas Federal Case as of August 31, 2018). These suits remain

   pending.

            3.    In the Texas Federal Case, Plaintiffs unsuccessfully sought to broadly enjoin

   Mattress Firm from using the “Tempur-Pedic” or “Tempur” names nationwide. The Texas




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   Federal Court denied that relief and ordered that Mattress Firm could continue to use the

   names “Tempur-Pedic” or “Tempur” on its website as long as certain restrictions were

   observed. See Exhibit 2.

            B.    Plaintiffs Filed The Instant Suit to Stop Defendants from Launching a
                  Competing Product.

            4.    To prevent Defendants from marketing and selling a new competing product

   line called the Therapedic Premier Collection, which is competitive with a product Plaintiffs

   allegedly debuted only a few months ago, Plaintiffs seek the same broad relief from this

   Court that was previously denied by the Texas Federal Court: a nationwide injunction against

   Mattress Firm from “any use whatsoever of the Tempur-Pedic Brand.” See Dkt. No. 8,

   Tempur-Pedic’s Motion for Entry of Preliminary Injunction, at pp. 4-5.

            5.    Plaintiffs claim they brought the instant case in this Court because Defendants

   are test marketing the Therapedic Premier Collection in the Tampa Bay area. More

   troublesome though is that Plaintiffs leave the false impression that the Texas Federal Court

   granted them broad injunctive relief when, in fact, the Texas Federal Court denied most of

   the preliminary injunctive relief Plaintiffs sought there. Specifically, the parties extensively

   litigated three “emergency” preliminary injunction applications which sought to prohibit

   Mattress Firm from using the Tempur-Pedic Brand in any manner – the exact relief sought

   here. Tellingly, the Texas Federal Court denied that relief, but one would not know that by

   reading Plaintiffs’ pleadings in this Court. See Exhibit 2.

            6.    Undaunted, on August 28, 2018, Plaintiffs sued in this Court, alleging that

   Mattress Firm is selling confusingly similar products with trade dress too similar to

   Plaintiffs’ “Pro-Adapt Trade Dress” first shown at an industry trade show in January 2018.



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   See Complaint, ¶¶ 27, 70. Plaintiffs allege that Mattress Firm is selling its allegedly

   infringing products nationwide through its website. See Complaint, ¶¶ 67, 69. The only

   alleged connection to this District, however, is the allegation that some Mattress Firm retail

   stores are being used as a test-market for the allegedly infringing products over Labor Day

   weekend. See Complaint, ¶¶ 68-69.

            7.    Mattress Firm’s headquarters (euphemistically called the “Bedquarters”) is

   located in Houston, Texas. Id. at ¶ 2; See Declaration of Scott Thaler, dated September 10,

   2018, attached as Exhibit 5, (the “Declaration”) ¶¶ 4, 9.

            C.    None of the Parties are Incorporated or Principally Based in this District,
                  or Even this State and the Key Witnesses and Evidence are not in
                  Florida.

            8.    Mattress Firm is a Delaware corporation with its principal place of business in

   Houston, Texas. See Declaration at ¶ 4. The Mattress Firm employees involved in the design

   of the products at issue in this case, the Therapedic Premier Collection, did so at the

   “Bedquarters” in Houston, Texas, and are currently located in Houston, Texas. Id. at ¶¶ 7-8.

   The records reflecting Mattress Firm’s involvement in the design, development, approval,

   planning, and marketing of the Therapedic Premier Collection are located at the

   “Bedquarters” in Houston, Texas. Id. at ¶ 8.

            9.    Additionally, the other Defendants joined in this action are not Florida

   business entities and are not principally based in either this District or the state of Florida.

   Defendant Ther-A-Pedic Associates, Inc., is a New Jersey corporation with a principal place

   of business in Princeton, New Jersey. See Complaint, ¶ 8. Defendant Sinomax Group

   Limited is a Chinese corporation with a principal place of business in Kowloon Bay,




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   Kowloon, Hong Kong. See Complaint, ¶ 10. Defendant Sinomax USA Inc. is a Delaware

   corporation with a principal place of business in Houston, Texas.          Complaint at ¶ 9;

   Declaration at ¶ 9.

            10.    Similarly, Plaintiffs are also not Florida business entities and are not

   principally based in either this District or the state of Florida. Plaintiff Tempur-Pedic North

   America, LLC is a Delaware limited liability company with a principal place of business in

   Lexington, Kentucky. See Complaint, ¶ 3. Plaintiff Tempur-Pedic Management, LLC is a

   Delaware limited liability company with a principal place of business in Lexington,

   Kentucky. See Complaint, ¶ 4. Plaintiff Dan-Foam ApS is a Danish corporation with a

   principal place of business in Denmark. See Complaint, ¶ 5. Plaintiffs Tempur-Pedic North

   America, LLC, Tempur-Pedic Management, LLC, and Dan Foam ApS, are all wholly owned

   subsidiaries of Tempur Sealy International, Inc., a Delaware corporation with its principal

   place of business in Lexington, Kentucky, whose securities are publicly traded. See

   Complaint, ¶ 6. Notably, and in support of its intimal request for a Temporary Restraining

   Order, Plaintiffs filed the Declaration of Richard W. Anderson, the Executive Vice President

   & President of North America for Tempur Sealy International, Inc., the parent company of

   all the Plaintiffs. See Dkt. 10, ¶¶ 1-2. Mr. Anderson, who presumably resides in Lexington,

   Kentucky, will be a key witness for Plaintiffs. Notably, the photographs of the Plaintiffs’

   products attached to Mr. Anderson’s Declaration appear to have been taken either in Aiea,

   Hawaii or Lexington, Kentucky - not in Florida. In short, Plaintiffs lack any meaningful

   connection to this judicial district as well.




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            11.    Because substantial overlap exists between the instant case and the first-filed

   Texas Federal Case (as reflected in Plaintiffs’ own pleadings), and because the Southern

   District of Texas is a more convenient district for this matter to be adjudicated, Mattress Firm

   requests the Court transfer this case to the Southern District of Texas pursuant to the First

   Filed Rule or alternatively pursuant to 28 U.S.C. § 1404(a).

                                   MEMORANDUM OF LAW

   III.     THE COURT SHOULD TRANSFER THIS CASE UNDER THE “FIRST
            FILED” DOCTRINE.

            “Where actions involving overlapping issues and parties are pending in two federal

   courts, there is a strong presumption across the federal circuits that favors the forum of the

   first-filed suit under the first-filed rule.” Manuel v. Convergys Corp., 430 F.3d 1132, 1135

   (11th Cir. 2005) (also noting that “the first-filed rule ‘should not be disregarded lightly’”).

   “The first filed rule provides that when parties have instituted competing or parallel litigation

   in separate courts, the court initially seized of the controversy should hear the case.”

   Collegiate Licensing Co. v. American Cas. Co. of Reading, Pa., 713 F.3d 71, 78 (11th Cir.

   2013); Martin v. Akers Bioscience, Inc., No. 8:14-cv-2835-T-33TGW, 2014 WL 7225412 at

   *3 (M.D. Fla. Dec. 17, 2014) (Covington, J.); AAMP of Florida, Inc. v. Audionics System,

   Inc., No. 8:12–cv–2922–T–33TGW, 2013 WL 1104889, at *2 (M.D. Fla. Mar. 18, 2013)

   (Covington, J.). Though some courts call this a “rule,” it is a discretionary doctrine resting on

   principles of comity and sound judicial administration, which is designed to avoid the waste

   of duplication, encroachment upon the authority of sister courts, and piecemeal resolution of

   issues that call for a uniform result. Martin, 2014 WL 7225412, at *3; Cadle Co. v.

   Whataburger of Alice, Inc., 174 F.3d 599, 603 (5th Cir. 1999).



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            Three considerations guide the doctrine’s application: (1) the chronology of the two

   actions; (2) the similarity of the parties; and (3) the similarity of the issues. Merrill Lynch,

   Pierce, Fenner & Smith, Inc. v. Haydu, 675 F.2d 1169, 1173-74 (11th Cir. 1982); Catermefit,

   Inc. v. Catereed Fit Corp., No. 8:15-cv-326T-17MAP, 2015 WL 12844285, at *1 (M.D. Fla.

   Apr. 16, 2015) (Pizzo, M.J.) (citing Groom v. Bank of America, No. 8:08-cv-2567-T-27EAJ,

   2010 WL 627564 (M.D. Fla. Feb. 23, 2010) (Whittemore, J.)).

            “The ‘first to file rule’ not only determines which court may decide the merits of

   substantially similar issues, but also establishes which court may decide whether the second

   suit filed must be dismissed, stayed or transferred or consolidated.’” Martin, 2014 WL

   7225412, at *3 (citing Cadle Co., 174 F.3d at 606). Courts applying the rule generally agree

   that the court in which an action is first filed is the appropriate court to determine whether

   subsequently filed cases involving substantially similar issues should proceed.” Id. (quoting

   Cadle, 174 F.3d at 606 and Perkins v. Am. Nat. Ins. Co., 446 F. Supp. 2d 1350, 1353 (M.D.

   Ga. 2006) (“[U]nder the ‘first-filed rule,’ the court where the subsequently filed action has

   been filed should defer to the court where the first action was filed to allow that court to

   decide whether it should exercise jurisdiction over both cases in a consolidated action.”)).

            Once the court with the second filed action determines that a likelihood of substantial

   overlap exists between two suits, “it is no longer up to the second filed court to resolve the

   question of whether both should be allowed to proceed.” Martin, 2014 WL 7225412, at *4

   (citing Cadle, 174 F.3d at 606 and Mann Mfg. v. Hortex, Inc., 439 F.2d 403, 408 (5th Cir.

   1971)); AAMP of Fla. Inc., 2013 WL 1104889, at *2-3 (stating that “even if this Court were

   inclined to agree with AAMP that the [patent dispute] case should be tried here, ‘it has no




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    authority to mandate this result’”, and transferring case to first-filed court under 28 U.S.C. §

    1404(a)). Instead, the proper course of action is for the Court to transfer the case to the first-

    filed court to determine which case should, in the interests of judicial economy, proceed. Id.

             Based on the pleadings and submissions in the instant case and the Texas Federal

    Case, there is a “likelihood of substantial overlap” between the two suits so as to compel

    transfer so that the Texas Federal Court can properly determine whether the First Filed Rule

    applies and whether, to what extent, and where the instant case should proceed.

    Unquestionably, there are substantial similarities between the identity of the parties3 and the

    issues presented in the Texas Federal Case and this proceeding. Both cases concern the same

    subject matter, the alleged infringement of Tempur-Pedic’s marks, and raise the same issues,

    namely whether Mattress Firm is infringing those marks, whether Mattress Firm is

    improperly marketing its products and whether Mattress Firm has confused consumers and

    consequently diverted sales from Tempur-Pedic. And there can be no reasonable dispute that

    venue over this case would exist in the Southern District of Texas, inasmuch as (1) Mattress

    Firm is headquartered there; (2) many of the key witnesses with personal knowledge of the

    decisions Tempur-Pedic is suing about reside there; and most importantly (3) Tempur-Pedic

    has already judicially admitted that the Texas court has personal jurisdiction over the parties,

    and venue is proper there. See Texas Federal Complaint at ¶¶ 8, 10.


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        While the parties here and in the Texas Federal Case are not identical, complete overlap
        of the parties is not required for the First Filed rule to apply. Save Power Ltd. v. Syntek
        Fin. Corp., 121 F.3d 947, 950 (5th Cir. 1997) (“The rule does not ... require that cases be
        identical[;] [instead,] [t]he crucial inquiry is one of ‘substantial overlap.’ “); Lexington
        Ins. Co. v. Proformance Plastering of Pensacola, Inc., No. 6:13-CV-904-ORL-22-TBS,
        2013 WL 12155502, at *1 (M.D. Fla. Oct. 9, 2013) (Conway, J.). (“[the parties and issues
        in the first lawsuit do not have to be identical to those in the second.”).


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             In fact, this case presents an even stronger basis upon which to employ the First Filed

    doctrine than in most cases in which the issue arises, since (a) Tempur-Pedic itself was the

    party who initiated the first filed federal case in Texas; (b) Tempur-Pedic admits in this case

    that its claims stem, in part, from alleged conduct that Tempur-Pedic believes to violate a

    preliminary injunction in the Texas Federal Case; and (c) the preliminary injunction Tempur-

    Pedic seeks in this case, in part, would constitute a second bite at the apple Tempur-Pedic

    unsuccessfully sought in the Texas Federal Court. Specific to this last point, Tempur-Pedic’s

    Tampa Case pleadings extensively reference the Texas Federal Case, the Court’s injunction

    issued there, and imply that Tempur-Pedic’s trademark infringement claims in this case stem

    from a violation of the Texas Court’s existing preliminary injunction:




    See Dkt. No. 9, Memorandum in Support of Application for Temporary Restraining Order

    and Preliminary Injunction, at p. 2. See also Complaint at ¶¶ 49-51.

             Another fact that shows substantial overlap is the similarity of the injunctive relief

    Tempur-Pedic seeks in this case as compared to what it requested – but did not get – from the

    Texas Federal Court. In the Texas Federal Case, Tempur-Pedic requested a preliminary

    injunction against “Mattress Firm from utilizing or referencing the Tempur-Pedic® marks on




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    its website.” The Texas Federal Court denied that request, and ordered that Mattress Firm

    could continue to use the names “Tempur-Pedic” or “Tempur” on the Mattress Firm website

    as long as certain restrictions were observed. See Exhibit 2, at pp. 25-26. After failing to

    convince the Texas Federal Court to preclude all uses of the Tempur-Pedic Marks, when

    Mattress Firm started selling the competing Therapedic Premier Collection, Plaintiffs instead

    filed this suit and seek substantially similar relief that the Texas Court already denied.

    Specifically, in its Motion for Entry of Preliminary Injunction in the instant case, Tempur-

    Pedic requests an injunction against all Defendants from “making any use whatsoever of the

    Tempur-Pedic Brand (as that term is defined in the Supporting Documentation) or any other

    trade names, trademarks, or trade dress that are likely to cause confusion with the Tempur-

    Pedic Brand …” Compare Exhibit 6, Dkt. No. 35 in the Texas Federal Case, Tempur-Pedic’s

    Memorandum in Support of its Second Emergency Request for Preliminary Injunction, at p.

    25 and Exhibit 2, Memorandum Opinion & Order, at p. 25-26 with Dkt. No. 8, Tempur-

    Pedic’s Motion for Entry of Preliminary Injunction, at pp. 4-5. Admittedly, the alleged

    conduct which Tempur-Pedic has made the subject of this case – the sale of Therapedic®

    branded mattresses that Tempur-Pedic believes look too similar to Tempur-Pedic’s products

    – is not on all fours with the issues in the Texas Federal Case. However, both cases

    nevertheless overlap substantially, because both cases involve disputes between many of the

    same parties in which one party claims its trademarks, goodwill and intellectual property are

    being misused by the other, and Tempur-Pedic seeks substantially similar – but potentially

    inconsistent – relief in both cases.




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             In Martin, this Court employed the First Filed rule in a royalty dispute and found that

    a federal district court in New York was the appropriate court to decide whether “(1) the

    Florida Action should be allowed to proceed, or whether it should be consolidated with the

    New York Action, and (2) whether this Court or the U.S. District Court for the Southern

    District of New York is the appropriate venue to resolve this dispute.” Martin, 2014 WL

    7225412, at *4. In Martin, the New York action predated the Tampa case by just a few hours,

    but the Court still properly exercised its discretion to allow the New York court to decide the

    issues, and stayed the Tampa case. Id. (citing Kate Aspen, Inc. v. Fashioncraft–Excello, Inc.,

    370 F. Supp. 2d 1333, 1338–39 (N. D. Ga. 2005) (staying action pending decision of the U.S.

    District Court for the Southern District of New York’s determination as to whether or not the

    First Filed rule should apply to the case and to the related litigation in the Southern District

    of New York)). And while the First Filed Rule usually arises when two parties have

    simultaneously raced to their local courthouse, it is not limited to situations in which parallel

    litigation is filed by each side. Indeed, in the Cadle case upon which this Court relied in

    Martin, the same party filed both the suits. Cadle, 174 F.3d at 600-02; see also Groom, 2010

    WL 627564 at *1 (staying second filed action by same plaintiffs who earlier filed similar

    action).

             Given these facts, the Court should proceed as it did in Martin and AAMP of Florida

    and transfer or stay this case to allow the Texas District Court to decide whether (1) this case

    should be allowed to proceed, or whether it should be consolidated with the Texas Action,

    and (2) this Court or the U.S. District Court for the Southern District of Texas is the

    appropriate venue to resolve this dispute. Martin, 2014 WL 7225412, at *4. And, because the




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    Court has set Tempur-Pedic’s Application for Preliminary Injunction for hearing on

    September 25, 2018, Mattress Firm requests the Court to rule on this Motion on an expedited

    basis to preserve judicial resources and potentially prevent an outcome in conflict with orders

    entered by the Court in the Texas Federal Case. See note 2, supra.

    IV.      THE COURT SHOULD TRANSFER THIS CASE UNDER 28 U.S.C. § 1404.

             Alternatively, Mattress Firm requests the Court to transfer this case to the Houston

    Division of the Southern District of Texas under 28 U.S.C. § 1404(a). Section 1404(a) gives

    this Court the discretion to transfer this case to a district where “[the case] might have been

    brought” for “the convenience of parties and witnesses, in the interest of justice.” 28 U.S.C. §

    1404(a); Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (“Section 1404(a) is

    intended to place discretion in the district court to adjudicate motions for transfer according

    to an individualized, case-by-case consideration of convenience and fairness.”). See also

    Proformance Plastering, 2013 WL 12155502, at *4 (although concluding that substantial

    overlap did not exist to justify transfer under the First-Filed rule, transfer pursuant to Section

    1404 was appropriate because the first court had a “greater interest in the litigation as it has

    been developing in that district for several years” and while two cases were not so related as

    to trigger the First Filed Rule, they “share some questions of law and fact” and consideration

    of the two cases in tandem would more comprehensively resolve the disputes rather than

    deciding the cases separately.) “Congress authorized courts to transfer the venue of a case in

    order to avoid unnecessary inconvenience to the litigants, witnesses, and the public, and to

    conserve time, energy, and money.” American Aircraft Sales Int’l, Inc. v. Airwarsaw, Inc., 55

    F. Supp. 2d 1347, 1351 (M.D. Fla. 1999).




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             A.       This Suit Could Have Been Brought In The Southern District of Texas.

             The threshold question under section 1404(a) requires the court to determine whether

    the case could have been brought in the forum to which transfer is sought. 28 U.S.C. §

    1404(a). An action might have been brought in a proposed transferee court if: (1) the court

    has jurisdiction over the subject matter of the action; (2) venue is proper there; and (3) the

    defendant is amenable to process.” Suomen Colorize Oy v. DISH Network, LLC, 801

    F. Supp. 2d 1334, 1337 (M.D. Fla. 2011); Seal Shield, LLC v. Otter Prods., LLC, No. 6:13-

    cv-967, 2013 WL 6017330, at *2 (M.D. Fla. Nov. 13, 2013); Brandywine Communs. Techs.

    v. AT&T Corp., No. 6:12-cv-283, 2012 WL 1658810, at *3 (M.D. Fla. Apr. 25, 2012).

             Here, there can be no dispute that Tempur-Pedic “could have brought” this case in the

    Southern District of Texas, since it is currently litigating against Mattress Firm there and has

    judicially admitted that venue and personal jurisdiction exists there. Texas Federal Complaint

    at ¶¶ 9-10. Accordingly, the only analysis for this Court to conduct is to determine whether

    the 1404(a) factors weigh in favor of a transfer to Texas. As shown below, they

    unquestionably do.

             B.       The Relevant Considerations Support Transfer, Both to Serve the
                      Convenience of the Parties and Witnesses, and to Promote the Interests of
                      Justice.

             The Eleventh Circuit has identified nine factors the Court should consider when

    determining whether a balancing of the convenience of the parties and the interest of justice

    favors transfer under Section 1404(a):

           (1)    convenience of the witnesses;
           (2)    location of documents and relative ease of access to sources of proof;
           (3)    convenience of the parties;
           (4)    locus of operative facts;



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           (5)   availability of process to compel the attendance of unwilling witnesses;
           (6)   relative means of the parties;
           (7)   a forum’s familiarity with the governing law;
           (8)   weight accorded a plaintiff’s choice of forum; and
           (9)   trial efficiency and the interests of justice, based on the totality of the
                 circumstances.

    Fresh Patch, LLC v. Youn, No. 8:13-CV-2602-SDM-AEP, 2014 WL 3720448, at *1 (M.D.

    Fla. July 25, 2014) (Merryday, J.) (quoting Manuel v. Convergys Corp., 430 F.3d 1132,

    1135, n.1 (11th Cir. 2005)).

             As explained factor-by-factor below, consideration of these public and private interest

    factors strongly favors transferring this case to the Southern District of Texas. Texas is the

    “center of gravity” for this case and is where Mattress Firm and most of the witnesses and

    evidence are located. And because none of the Plaintiffs are at home in this forum, Plaintiffs’

    choice of forum is entitled to only minimal deference. Therefore, transfer to the Southern

    District of Texas is appropriate. See Rothschild Digital Media Innovations, LLC v. Sony

    Computer Entm’t Am. LLC, No. 14-22134-CIV, 2014 WL 12029271, at *2 (S.D. Fla. Aug.

    28, 2014) (“This court has held and holds again in this instance that in a case featuring most

    witnesses and evidence closer to the transferee venue with few or no convenience factors

    favoring the venue chosen by the plaintiff, the trial court should grant a motion to

    transfer.”)).

                     1. The Convenience of the Witnesses Strongly Favors Transfer.

             The Middle District of Florida “gives great weight to the convenience of the parties.”

    Suomen, 801 F. Supp. 2d at 1338; Brandywine Communs. Techs., LLC v. Cisco Sys., Inc.,

    No. 6:11-cv-1843-Orl-36DAB, 2012 WL 8281188, at *3-5 (M.D. Fla. Mar. 26, 2012); see

    also Reward Systems, L.C. v. Meijer, Inc., 189 F. Supp. 2d 1332, 1340 (M.D. Fla. 2002).



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    However, it is equally “well-established . . . that the majority of the witnesses in a patent

    infringement case originate with the defendant,” and that the bulk of the relevant evidence

    usually comes from the accused infringer. Brandywine, 2012 WL 8281188, at *3-5. Where

    the majority of potential witnesses with relevant knowledge of the accused product are

    located in another district, this factor favors transfer. Id.

             In the case at bar, virtually all of the key witnesses in this case knowledgeable about

    the design, development, marketing, and sale of the allegedly infringing products reside in

    Houston, Texas. See Declaration, ¶ 7 (explaining that the key Mattress Firm employees with

    knowledge of the issues in this case are all located in Houston, Texas). Mattress Firm has

    identified from its side the following key witnesses for the issues in this case:

             Witness Name                         Title or Role at Mattress Firm, Inc.
              Steve Stagner                                   Chairman/CEO
               Scott Thaler                              Chief Marketing Officer
             Dave Brummett                          Sr. Vice President - Merchandising
               Jody Putnam                                 Divisional President
              Kristen Gullo                     Vice President of Learning & Development
              Morgan Camp                              Curriculum Design Specialist
           Bethanie Mackintosh                      Senior Manager Education Design
             Christy Sherrick                           Vice President of Marketing
              Kelly Shannon                           Director of Product Marketing

    Declaration, ¶ 7. It would be far more convenient, and far less costly, to obtain these

    witnesses’ attendance if this case were tried in the Southern District of Texas, where

    Plaintiffs have already teed up their trademark infringement battle. Indeed, the extended

    relocation to Florida for trial of many of Mattress Firm’s witnesses would impose a

    substantial strain upon, and disruption to, Mattress Firm’s ongoing business efforts.

    Declaration, ¶ 10. Given that the vast majority of key witnesses in this case are either based

    in Houston or in closer proximity to Houston than to Florida, this factor weighs heavily in



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    favor of granting transfer. See Brandywine, 2012 WL 8281188, at *3-5; Suomen, 801 F.

    Supp. 2d at 1338-1339.

                       2. The Location of Relevant Documents, Sources of Proof and Physical
                          Evidence Favors Transfer.

                 Nearly all of the sources of proof in this case reside in the Southern District of Texas

    or in Lexington, Kentucky; and not one party resides in or has a principal place of business in

    Florida. See Complaint at ¶¶ 3-10; and Declaration, ¶ 8 (explaining that the location of the

    records at issue would be in Houston, Texas). None of the currently identified records are

    maintained in Tampa, Florida, which is also a significant consideration. See Markowitz v.

    Miller Brewing, Co., No. SA-06-CA-0550-WRF, 2006 WL 3327648, at *6 (W.D. Tex. Oct.

    25, 2006) (transferring venue to Milwaukee where, among other things, no evidence existed

    in Texas and finding “[m]ore significant than the location of evidence in Milwaukee, is the

    complete absence of evidence located in San Antonio.”); Trinity Christian Ctr. of Santa Ana,

    Inc. v. New Frontier Media, Inc., 761 F. Supp. 2d 1322, 1327 (M.D. Fla. 2010) (“This factor

    examines the location of sources of documentary proof and other tangible materials, and the

    ease with which the parties can transport them to trial.”). And, perhaps most importantly, the

    prototype mattresses alleged to be infringing on Plaintiffs’ marks, as well as the models upon

    which Mattress Firm designed the Therapedic Premier collection finds its genesis, are located

    in Houston as well. Declaration, ¶ 8.

                       3. The Convenience of the Parties Strongly Favors Transfer.

             The party convenience factor favors transfer. As Tempur-Pedic admits, not one party

    to this case has any meaningful connection to this district. Plaintiffs are all Delaware entities

    with their principal places of business in Lexington, Kentucky, with the exception of Dan



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    Foam (a Danish corporation with a principal place of business in Denmark). Complaint at ¶¶

    3-6. Therapedic is a New Jersey corporation with its principal place of business there. Id. at ¶

    8. Sino-CH is alleged to be a Chinese company with a principal place of business in Hong

    Kong. Id. at ¶ 10. Both Mattress Firm and Sino-US are Delaware corporations with their

    principal places of business in Houston. Id. at ¶¶ 7, 9; Declaration, ¶¶ 4, 8. As to both

    companies, corporate policy is made in Houston and the primary decision makers who

    designed the allegedly infringing bedding products, and the architects of the materials used to

    market the allegedly infringing products, all reside in Houston. Declaration, ¶ 7. Because

    none of the parties are headquartered within this District, or even within Florida, but the key

    Defendants have headquarters in Houston, Texas, where the decisions at issue, key witnesses,

    and physical evidence are all located, the convenience of the parties strongly favors transfer.

                    4. The Locus of Operative Facts Favors Transfer.

             “Typically, the locus of operative facts in intellectual property infringement cases is

    where the ‘allegedly infringing product was designed, developed, and produced.’” Seal

    Shield, LLC, 2013 WL 6017330, at *3 (granting motion to transfer to venue to district where

    allegedly infringing product was created, developed, and marketed). Here, the allegedly

    infringing product and marketing campaign was designed, developed, and produced in

    Houston, Texas. See Declaration, ¶¶ 7-9. This factor warrants transfer.

             The only claimed connection to this District is the fact that some retail stores were

    used to test-market the allegedly infringing products over Labor Day weekend. Complaint at

    ¶¶ 68-69; Dkt. No. 7, Pls.’ Application for Temporary Restraining Order, at p. 3. The Tampa

    test-market is immaterial because Plaintiffs also allege nationwide sales. See Seal Shield,




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    LLC, 2013 WL 6017330, at *3 (“The sale of an accused product offered nationwide does not

    give rise to a substantial interest in any single venue.”) (internal citation omitted); Complaint,

    ¶¶ 67, 69 (alleging that Mattress Firm is selling such products nationwide through its

    website). Moreover, this test marketing allegation is a tenuous connection to this District,

    since none of the parties, witnesses or sources of proof, reside in this District, or even in the

    state of Florida. While Mattress Firm admittedly employs some retail salespersons at its

    Tampa locations, these retail salespersons had no role in the design or development of the

    marketing campaign of the bedding products at issue in this case. Declaration, ¶ 7.

                    5. The Transferee Court’s Subpoena Power over Witnesses Favors Transfer.

             The key witnesses with personal knowledge of the reasons for the alleged decisions

    made the basis of Tempur-Pedic’s claims are residents of Houston, where the mattresses and

    marketing campaigns at issue were conceived and designed. See Declaration, ¶ 7. Employees

    of the other co-defendants also reside outside of this District (in New Jersey, China or

    Houston, Texas). Even the witnesses to substantiate Plaintiff’s alleged irreparable harm

    presumably reside outside of this district in Lexington, Kentucky since that is Plaintiff’s

    principal place of business. Consequently, the availability of compulsory process for the

    attendance of witnesses does not favor continuing this suit in this district, since the key

    witnesses for the parties (and potentially non-parties) are outside the subpoena power of this

    Court. And, all known witnesses would have to travel a considerable distance to reach this

    District.




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                    6. The Cost of Attendance for Willing Witnesses Favors Transfer.

             While the relative means of the parties may be neutral, the costs of attendance for

    willing witnesses will be reduced for all parties if this case is transferred to the Southern

    District of Texas. As described above, the Defendants to this lawsuit, their sources of proof,

    their business records, material physical evidence and the witnesses to the events made the

    basis of Plaintiff’s claims, reside in Texas. And, for that matter, Plaintiffs’ witnesses

    presumably reside in Lexington, Kentucky. Traveling from a multitude of states to arrive in

    Tampa, Florida is inconvenient for the witnesses and could result in significant travel

    expenses. Transferring this case to the Southern District of Texas will minimize those

    expenses since at least two defendants are headquartered there. And, most importantly,

    Tempur-Pedic cannot be heard to complain about the expense to travel to the Southern

    District of Texas, since it voluntarily selected that venue to file its first trademark dispute

    against Mattress Firm.

                    7. The Familiarity of the Forum with the Applicable Law Favors Transfer.

             Tempur-Pedic has already asserted trademark infringement claims against Mattress

    Firm, and the court in the Southern District of Texas has already spent the better part of

    sixteen months learning the case and making rulings on various overlapping issues. Texas

    law would be appropriate for Plaintiff’s common law causes of action because any alleged

    infringement would have begun in Texas where the allegedly infringing products and

    marketing campaigns were conceived. See Restatement (Second) of Conflict of Laws §

    145(1) (“[t]he rights and liabilities of the parties with respect to an issue in tort are

    determined by the local law of the state which, with respect to that issue, has the most




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    significant relationship to the occurrence and the parties….”). The inclusion of a FDUTPA

    claim should not change the weight of this factor, because, as this Court has previously

    recognized, there is a divergence within Florida law regarding whether FDUTPA extends

    beyond Florida. See Walgreens Co. v. Premier Products of America, Inc., No. 8:11-cv-812-

    T-33MAP, 2011 WL 4902985 (M.D. Fla. Oct. 14, 2011) (Covington, J.) (citing Océ Printing

    Sys. v. Mailers Data Servs., Inc., 760 So. 2d 1037, 1042 (Fla. 2d DCA 2000) (reversing trial

    court order certifying FDUTPA class that included out-of-state residents, because FDUTPA

    was enacted to protect in-state consumers, and that the trial court’s order certifying a

    nationwide class was contrary to “express statutory language”)). But, even if Florida law may

    apply to a small portion of Plaintiff’s claims, the Southern District of Texas is still the

    appropriate venue for this lawsuit because, “the possibility that the law of another jurisdiction

    governs the case is a factor accorded little weight on a motion to transfer, especially when no

    complex questions of foreign law are involved.” Foothill Capital Corp. v. Kidan, No. 03 Civ.

    3976 (RMB), 2004 WL 434412, at *4 (S.D.N.Y. Mar. 8, 2004); Cypress/Spanish Fort I, L.P.

    v. Professional Services, Industries, Inc., 2010 WL 3766882, at *4 (N.D. Tex. Sept. 27,

    2010). Indeed, “this factor is neutral when . . . the foreign law to be applied is not particularly

    complicated.” Odom v. Microsoft Corp., 596 F. Supp. 2d 995, 1004 (E.D. Tex. 2009); Action

    Industries, Inc. v. U.S. Fidelity & Guar. Co., 358 F.3d 337, 340 (5th Cir. 2004) (holding that

    this factor is not particularly significant unless a party can show that courts in the alternate

    venue were “either unable or unwilling to apply [a different state’s] law.”). Therefore this

    factor favors transfer, even though it is generally accorded lesser weight than others.




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                    8. Plaintiffs’ Choice of Forum is Entitled to Only Minimal Deference
                       Because None of the Plaintiffs are at Home in this District.

             Although plaintiff’s choice of forum is a factor, where, as here, “a plaintiff has

    chosen a forum that is not its home forum, only minimal deference is required, and it is

    considerably easier to satisfy the burden of showing that other considerations make transfer

    proper.” See Suomen, 801 F. Supp. 2d at 1338 (internal citation omitted). Because this forum

    is not home to Plaintiffs, the Court should accord little weight to Plaintiffs’ forum choice.

    Soler v. Indymac Mortg. Services, 14-CIV-22541, 2015 WL 3952620, at *3 (S.D. Fla. June

    29, 2015) (“given the reduced deference to [Plaintiff]’s forum choice, the neutral factors

    above do not weigh against transfer, but instead, remain neutral.”).

                    9.   Trial Efficiency and the Interests of Justice Favor Transfer.

             Financially, the Southern District of Texas is the appropriate forum to hear this case,

    as the main witnesses are located in Texas (and to a lesser extent, in Kentucky).4 The vast

    majority of the alleged events relative to Plaintiffs’ claims occurred entirely in Texas.

    Therefore, this factor weighs in favor of transfer of the suit to the Southern District of Texas,

    where the Defendants, records, certain physical evidence and witnesses are located.

             Second, consolidation of this case with the Texas Federal Case is possible if this case

    is transferred. Even if this case is not consolidated with the Texas Federal Case, transfer

    would still permit this case to be heard by the same judge, who is already familiar with the




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        Xymogen, Inc. v. Digitalev, LLC, No.: 617CV869ORL31KRS, 2018 WL 659723, at *3
        (M.D. Fla. Feb. 1, 2018) (“Accordingly, because trademark infringement is deemed to
        take place in the location where the owner of the trademark resides, venue is proper
        here.”).


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    primary parties and primary issues involved in this dispute. This would only increase the

    efficiency of the proceedings, weighing in favor of transfer.

             Additionally, to the extent that this Court considers congestion as part of this factor in

    deciding motions to transfer, then it likewise favors transfer to the Southern District of Texas.

    The Judicial Business Report for 2017, which reports the median time interval in civil cases

    from filing to disposition in various judicial districts, is instructive. The latest data shows that

    the median time interval in civil cases from filing to disposition through trial in the Southern

    District of Texas is 22.6 months, while in the Middle District of Florida, it is 24.3 months.

    [See Judicial Business of the United States Courts 2017, Table C-5, found at:

    http://www.uscourts.gov/sites/default/files/data_tables/fjcs_c5_0331.2017.pdf (last visited on

    September 6, 2018)]. These statistics suggest that the civil dockets in the Southern District of

    Texas are slightly less congested than the civil dockets in the Middle District of Florida.

             Finally, the burden of jury duty more appropriately falls upon the citizens of Texas,

    given that most Defendants reside in Texas, and the majority of the alleged events at issue

    occurred in Texas. The Southern District of Texas has a local interest in resolving this

    controversy because Mattress Firm has its principal place of business in Texas, and there is

    already one pending case there with substantial overlap, as set forth above. Accordingly, this

    suit should be transferred to the Southern District of Texas.

    V.       CONCLUSION.

             This case is the latest filing in continuing litigation first-filed in Texas. And it too

    should be resolved in Texas. This litigation bears no meaningful relationship with this

    District. The Southern District of Texas, on the other hand, is where Mattress Firm maintains




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    its principal place of business, where the vast majority of the allegedly wrongful activity

    takes place or is directed from, where the majority of key witnesses are located, and where

    the primary parties are already litigating. For each of the reasons identified herein, Mattress

    Firm respectfully requests that this case be transferred to the Southern District of Texas.

                        Certification of Compliance with Local Rule 3.01(g)

             Pursuant to Local Rule 3.01(g), undersigned counsel hereby certifies that they

    conferred with counsel for Plaintiffs, and Plaintiffs oppose the relief sought. Undersigned

    counsel also conferred with counsel for the other defendants and certifies, without waiver of

    any defenses to jurisdiction, service of process or otherwise of the other defendants, that the

    other defendants do not oppose the relief sought in this Motion. Mattress Firm anticipates

    that the other defendants may join in this Motion once properly served if they do not assert

    jurisdictional defenses.

    Date: September 10, 2018.                           Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on September 10, 2018, I electronically filed the foregoing

    with the Clerk of the Court via the CM/ECF system, who will provide electronic notification

    to all counsel of record.

                                                /s/ Irene A. Bassel Frick
                                                Attorney




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